Case 9:18-cv-00196-DLC-JCL Document 2 Filed 12/07/18 Page 1 of 12

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Case 9:18-cv-00196-DLC-JCL Document 2 Filed 12/07/18 Page 3 of 12

 

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Case 9:18-cv-00196-DLC-JCL Document 2 Filed 12/07/18 Page 4 of 12

 

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Case 9:18-cv-00196-DLC-JCL Document 2 Filed 12/07/18 Page 6 of 12

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Case 9:18-cv-00196-DLC-JCL Document 2 Filed 12/07/18 Page 9 of 12

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Case 9:18-cv-00196-DLC-JCL Document 2 Filed 12/07/18 Page 10 of 12

 

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Case 9:18-cv-00196-DLC-JCL Document 2 Filed 12/07/18 Page 11 of 12

 

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Case 9:18-cv-00196-DLC-JCL Document 2 Filed 12/07/18 Page 12 of 12

 

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